       Case 12-46715           Doc 105 Filed 09/08/17 Entered 09/09/17 00:03:52                          Imaged
                                     Certificate of Notice Pg 1 of 3
Thomas F. Eagleton Courthouse                                                         United States Bankruptcy Court
111 South Tenth Street, Fourth Floor
St. Louis, MO 63102                                                                        Eastern District of Missouri

Case Number: 12−46715

                                 IN RE:       Felicia McIntosh, xxx−xx−1879
                                                8421 Lariat Drive
                                              Hazlewood, MO 63042

            ORDER DISCHARGING DEBTOR AFTER COMPLETION OF CHAPTER 13 PLAN


The court finds that the debtor filed a petition under title 11, United States Code, on July 12, 2012; that the debtor's
plan has been confirmed; and that the debtor has fulfilled all requirements under the plan and the applicable
provisions of 11 U.S.C. Section 1328.
IT IS ORDERED THAT:
1. Pursuant to 11 U.S.C. Section 1328(a), the debtor is discharged from all debts provided for by the plan or
   disallowed under 11 U.S.C. Section 502, except any debt:
   (a) provided for under 11 U.S.C. Section 1322(b)(5)and on which the last payment is due after the date on which
       the final payment under the plan was due;
   (b) in the nature of alimony to, maintenance for, or support of a spouse, former spouse, or child of the debtor in
       connection with a separation agreement, divorce decree or other order of a court of record, or property
       settlement agreement, as specified in 11 U.S.C. Section 523(a)(5);
   (c) for a student loan or educational benefit overpayment as specified in 11 U.S.C. Section 523(a)(8);
   (d) for a death or personal injury caused by the debtor's unlawful operation of a motor vehicle while intoxicated
       from using alcohol, a drug, or another substance, as specified in 11 U.S.C. Section 523(a)(9), in a case
       commenced on or after November 15, 1990;
   (e) for restitution included in a sentence on the debtor's conviction of a crime, in a case commenced on or after
       November 15, 1990; or
   (f) for a fine included in a sentence on the debtor's conviction of a crime, in a case commenced on or after
       October 22, 1994.
2. Pursuant to 11 U.S.C. Section 1328(d), the debtor is not discharged from any debt based on an allowed claim filed
   under 11 U.S.C. Section 1305(a)(2) if prior approval by the trustee of the debtor's incurring such debt was
   practicable and was not obtained.
3. Notwithstanding the provisions of title 11, United States Code, the debtor is not discharged from any debt made
   non−dischargeable by 18 U.S.C. Section 3613(f), by certain provisions of titles 10,37,38,42, and 50 of the United
   States Code, or by any other applicable provision of law.
4. All creditors are prohibited from attempting to collect any debt that has been discharged in this case.

Dated: 9/6/17
Rev. 12/15 3180W

                                                                United States Bankruptcy Judge
          Case 12-46715        Doc 105 Filed 09/08/17 Entered 09/09/17 00:03:52                 Imaged
                                     Certificate
                                    United       of Notice
                                             States         Pg 2 Court
                                                     Bankruptcy  of 3
                                      Eastern District of Missouri
In re:                                                                                 Case No. 12-46715-bss
Felicia McIntosh                                                                       Chapter 13
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0865-4          User: jerj                   Page 1 of 2                   Date Rcvd: Sep 06, 2017
                              Form ID: 3180W               Total Noticed: 36


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 08, 2017.
db             +Felicia McIntosh,    8421 Lariat Drive,   Hazlewood, MO 63042-3039
cr              Consumer Debt Trust,    American InfoSource LP,    PO Box 268925,    Oklahoma City, OK 73126-8925
cr              ECast Settlement Corporation,    PO Box 28136,    New York, NY 10087-8136
cr              Mastorakos Orthodontic Associates, PC,    120 S. Central Ave., Ste. 130,
                 St. Louis, MO 63105-1705
cr             +US Bank Home Mortgage MN,    6363 College Blvd, Ste 100,     Overland Park, KS 66211-1881
cr             +US Bank NA,   14841 Dallas Pkwy Ste 300,    Dallas, TX 75254-7883
cr              Vantage Credit Union,    4020 Fee Fee Road,    Bridgeton, MO 63044-2708
9390177         Consumer Debt Trust by American InfoSource LP,     PO Box 268925,    Oklahoma City, OK 73126-8925
9402938        +Emmanuel A. Sevastianos,    120 S. Central Ave.,    STE 130,    Saint Louis, MO 63105-1705
9054347        +Felicia McIntosh,    8421 Lariat Drive,   Hazelwood, MO 63042-3039
9209541        +M&I,   770 N. Water St.,    Milwaukee, WI 53202-0002
9052295        +M&I Bank,   Bankcard Services,    P.O. Box 31535,    Tampa, FL 33631-3535
9526340        +Mastorakos Orthodontic Associates,    Sevastianos & Associates PC,     120 S Central Ave, Ste. 130,
                 Clayton, MO 63105-1705
9402939        +Mastorakos Orthodontic Associates,    1415 Elbridge Payne Rd.,     Chesterfield, MO 63017-8538
9052298        +US Bank Home Mortgage,    PO Box 20005,   Owensboro, KY 42304-0005
9054114        +USPS,   Attn. Payroll Department,    1720 Market Street,     St. Louis, MO 63180-0005
9103889        +Vantage Credit Union,    4020 Fee Fee Road,    St Louis, MO 63044-2708
9052299        +Vantage Credit Union,    P.O. Box 4433,   Bridgeton, MO 63044-0433
9950585         eCAST Settlement Corporation,    Bass & Associates, P.C.,     PO Box 28136,
                 New York, NY 10087-8136

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +EDI: BASSASSOC.COM Sep 07 2017 03:18:00        Capital One NA,    Bass & Associates, P.C.,
                 3936 E Ft Lowell Road, Ste 200,     Tucson, AZ 85712-1083
cr             +EDI: BASSASSOC.COM Sep 07 2017 03:18:00        eCAST Settlement Corporation,
                 Bass & Associates, P.C.,     3936 E. Ft. Lowell Road,    Suite 200,    Tucson, AZ 85712-1083
9052290        +EDI: HFC.COM Sep 07 2017 03:19:00       Best Buy,    P.O. Box 5253,    Carol Stream, IL 60197-5253
9052291        +E-mail/Text: aphelp@bpgwi.com Sep 07 2017 03:48:49        Buyers Protection Group,
                 4300 Alexander Dr.,    Suite 200,    Alpharetta, GA 30022-3780
9232363        +EDI: BASSASSOC.COM Sep 07 2017 03:18:00        Capital One, N.A.,    Bass & Associates, P.C.,
                 3936 E. Ft. Lowell Road, Suite #200,     Tucson, AZ 85712-1083
9052292         EDI: DISCOVER.COM Sep 07 2017 03:18:00        Discover Card Services,    P.O. Box 30943,
                 Salt Lake City, UT 84130
9058509         EDI: DISCOVER.COM Sep 07 2017 03:18:00        Discover Bank,    DB Servicing Corporation,
                 PO Box 3025,    New Albany, OH 43054-3025
9059159        +EDI: DISCOVERPL Sep 07 2017 03:18:00       Discover Persoanal Loans,     PO BOX 30954,
                 Salt Lake CIty , Utah 84130-0954
9059159        +E-mail/Text: dplbk@discover.com Sep 07 2017 03:48:47         Discover Persoanal Loans,
                 PO BOX 30954,    Salt Lake CIty , Utah 84130-0954
9052293         EDI: HFC.COM Sep 07 2017 03:19:00       HSBC,    PO Box 5253,    Carol Stream, IL 60197-5253
9052294        +EDI: RMSC.COM Sep 07 2017 03:19:00       JC Penney - Bankruptcy Department,     GE Money Bank,
                 PO Box 103104,    Roswell, GA 30076-9104
9092794         EDI: JEFFERSONCAP.COM Sep 07 2017 03:19:00        Jefferson Capital Systems LLC,    PO BOX 7999,
                 SAINT CLOUD MN 56302-9617
9054328        +E-mail/Text: ecfnotices@dor.mo.gov Sep 07 2017 03:47:03         Missouri Department of Revenue,
                 PO Box 475,    301 W High St,    Jefferson City MO 65101-1517
9230876         EDI: PRA.COM Sep 07 2017 03:18:00       Portfolio Recovery Associates, LLC,     PO Box 12914,
                 Norfolk VA 23541
9052296        +E-mail/Text: bankruptcy@risecredit.com Sep 07 2017 03:46:59         PayDay One,   PO Box 101842,
                 Fort Worth, TX 76185-1842
9052297        +E-mail/Text: bankruptcy@progfinance.com Sep 07 2017 03:48:14         Progressive Finance, L.C.,
                 11629 S. 700 E.,    Ste 250,    Draper, UT 84020-8399
10529307        EDI: USBANKARS.COM Sep 07 2017 03:18:00        U.S. Bank National Association,
                 c/o U.S. Bank Home Mortgage, a division,      of U.S. Bank National Association,
                 4801 Frederica Street,    Owensboro, Kentucky 42301
9074286         EDI: USBANKARS.COM Sep 07 2017 03:18:00        US BANK N.A.,    BANKRUPTCY DEPARTMENT,
                 P.O. BOX 5229,    CINCINNATI, OH 45201-5229
                                                                                                TOTAL: 18

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr              US Bank NA
cr              US Bank NA
cr*            +US Bank NA,   14841 Dallas Pkwy Ste 300,   Dallas, TX 75254-7883
                                                                                              TOTALS: 2, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.
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                                            Certificate of Notice Pg 3 of 3


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                                      Form ID: 3180W                     Total Noticed: 36


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 08, 2017                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 6, 2017 at the address(es) listed below:
              Diana S. Daugherty    standing_trustee@ch13stl.com, trust33@ch13stl.com
              Jonathon B. Burford    on behalf of Creditor   Vantage Credit Union edmo@km-law.com,
               Kozeny@ecf.courtdrive.com
              Michael J. Watton    on behalf of Debtor Felicia McIntosh wlgstl@wattongroup.com
              Noel A. Sevastianos    on behalf of Creditor   Mastorakos Orthodontic Associates, PC
               noel@noelslaw.com
              Office of US Trustee    USTPRegion13.SL.ECF@USDOJ.gov
              Patti H. Bass   on behalf of Creditor    Capital One NA ecf@bass-associates.com
              Wendee Noel Elliott-Clement    on behalf of Creditor   US Bank Home Mortgage MN
               moedbknotices@southlaw.com
              Wendee Noel Elliott-Clement    on behalf of Creditor   US Bank NA moedbknotices@southlaw.com
                                                                                              TOTAL: 8
